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                                                                             United States District Court


                        UNITED STATES DISTRICT COURT
                                                               'IL          ID
                                                                              southern District of Texas

                                                                                    ENTERED
                         SOUTHERN DISTRICT OF TEXJS,                             January 06, 2025
                              HOUSTON DIVISIQ     IV 0 ,
                                                                                 Nathan Ochsner, Clerk
                                                                S.
UNITED STATES OF AMERICA                                          DISTRIc
                                              §                 DISTRICT
                                              §
versus                                        §
                                              §
Michael Lofti                                 §           a.   th C)- \3ç(2)
                                         [S) 1 I] a   1



      In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due
Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the
Government is ORDERED to comply with the prosecutor's disclosure obligations under
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny. The Government is also notified of
the potential consequences of violating this Order and the disclosure obligations. The
consequences include, but are not limited to, sanctions such as delaying trial or other
proceedings, excluding evidence, giving adverse jury instructions, granting a new trial,
dismissing the case, or finding the Government in contempt.

      It is so ORDERED.

      SIGNED on January 6, 2025.




                                            Dena Hanovice Palermo
                                            United States Magistrate Judge




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